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   9
  10                      UNITED STATES DISTRICT COURT
  11        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  12
  13 NEMAN BROTHERS & ASSOC.,                 Case No. 2:20-cv-11181-CAS-JPRC
     INC., a California Corporation,
  14
                  Plaintiff,                  PROOF OF SERVICE RE UNDER
  15                                          SEAL DOCUMENTS
           v.
  16
     INTERFOCUS, INC. d.b.a.
  17 www.patpat.com, a Delaware
     Corporation; CAN WANG, and
  18 individual, and DOES 1-10, inclusive.,
  19              Defendants.
  20
     INTERFOCUS, INC. d.b.a.
  21 www.patpat.com, a Delaware
     Corporation; CAN WANG, an
  22 individual, and DOES 1-10, inclusive,
  23              Counterclaim Plaintiffs,
  24        v.
  25 NEMAN BROTHERS & ASSOC.,
     INC., a California Corporation,
  26
                  Counterclaim Defendant.
  27
  28

                                     PROOF OF SERVICE
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   1                                  PROOF OF SERVICE
   2       I, CHERYL LOVDAHL, am over the age of 18 and not a party to
   3 this action. My place of business is 800 Oak Grove Avenue, Suite 250,
   4 Menlo Park, CA 94025. On July 15, 2021, I served the following
   5 attached document(s):
   6
             1.     EX. 3 FILED UNDER SEAL TO DECLARATIONS OF
   7                MARK S. LEE AND WEIWEI LE IN SUPPORT OF
   8                DEFENDANT INTERFOCUS, INC. D.B.A.
                    WWW.PATPAT.COM’S MOTION FOR: 1) SUMMARY
   9
                    JUDGMENT ON COPYRIGHT INFRINGEMENT
  10                CLAIMS IN PLAINTIFF’S COMPLAINT; AND 2)
  11                PARTIAL SUMMARY JUDGMENT ON
  12
                    COUNTERCLAIM; MEMORANDUM OF POINTS AND
                    AUTHORITIES IN SUPPORT THEREOF FILED
  13                UNDER SEAL PURSUANT TO ORDER OF THE
  14                COURT DATED JULY 15, 2021 [DKT. 38]
  15         2.     PROOF OF SERVICE
  16 on the person(s) listed below in the following manner/s:
  17
                BY ELECTRONIC MAIL. I sent the persons below copies of the
                 documents via electronic mail at the email addresses below.
  18
  19         The following party was served the above-referenced document(s):

  20                          Chan Yong Jeong, Esq. (SBN: 255244)
                                    jeong@jeonglikens.com
  21                               JEONG & LIKENS, L.C.
  22                               222 South Oxford Avenue
                                 Los Angeles, California 90004
  23                                Telephone: 213.688.2001
  24                                Facsimile: 213.315.5035
             I declare under penalty of perjury under the laws of the State of California
  25
       that the foregoing is true and correct.
  26
  27 DATED: July 15, 2021                              /s/ Cheryl Lovdahl
  28                                                         Cheryl Lovdahl

                                                 -1-
                                          PROOF OF SERVICE
